Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 1 of 9 PageID: 352
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 2 of 9 PageID: 353
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 3 of 9 PageID: 354
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 4 of 9 PageID: 355
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 5 of 9 PageID: 356
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 6 of 9 PageID: 357
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 7 of 9 PageID: 358
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 8 of 9 PageID: 359
Case 2:22-cv-01344-WJM-JBC Document 52 Filed 08/10/23 Page 9 of 9 PageID: 360




                           CERTIFICATE OF SERVICE


      I hereby certify that on August 10, 2023 a true and correct copy of the

foregoing was served upon the counsel of record by filing it electronically with the

Court’s CM/ECF system.


                                       By:   /s/ Frederick L. Whitmer
                                             Frederick L. Whitmer
